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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

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                                                               :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :   Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
Bulger v. Pfizer Inc., 1:07-cv-11425-PBS                       :
                                                               :
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              DECLARATION OF ANDREW G. FINKELSTEIN, ESQ.
     IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        I, Andrew G. Finkelstein, declare and state as follows:

        1.       My name is Andrew G. Finkelstein. I am a partner with the firm of Finkelstein &

Partners, LLP, attorneys for Plaintiff Ronald J. Bulger, Sr., in this matter. I make this declaration

based on my own personal knowledge and information.

        2.       This declaration is submitted in opposition to Defendants Pfizer Inc. and Warner-

Lambert Company LLC’s Motion for Summary Judgment. (ECF Doc. # 1637.)

        3.       Attached as Exhibit 1 is a true and correct copy of the Order and Memorandum

Opinion by the Honorable Mark J. Bernstein, dated June 29, 2007, in Clark v. Pfizer Inc., Phila.

Ct. Comm. Pleas, June Term, 2004, No. 1819.

        4.       Attached as Exhibit 2 is a true and correct copy of the Opinion of Honorable

Mark I. Bernstein in Clark v. Pfizer Inc., Phila. Ct. Comm. Pleas, June Term, 2004, No. 1819.
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       5.     Attached as Exhibit 3 is a true and correct copy of the Order and Opinion of

Honorable Mark I. Bernstein, dated February 9, 2009, in Clark v. Pfizer Inc., Phila. Ct. Comm.

Pleas, June Term, 2004, No. 1819.

       6.     Attached as Exhibit 4 is a true and correct copy of the Division of

Neuropharmacological Drug Products Combined Medical-Statistical Review dated Jan. 31, 1992.

       7.     Attached as Exhibit 5 is a true and correct copy of the Genentech October 2008

“Dear Doctor Letter” re: Raptiva.

       8.     Attached as Exhibit 6 is a true and correct copy of FDA’s Combined Medical-

Statistical Review, December, 1992 marked for identification as Exhibit 31 deposition of Janeth

Turner on October 11, 2007.

       9.     Attached as Exhibit 7 is a true and correct copy of excerpts from the deposition of

Janeth Turner (Oct. 12, 2007).

       10.    Attached as Exhibit 8 is a true and correct copy of the general causation expert

report of Professor Michael Trimble, M.D.

       11.    Attached as Exhibit 9 is a true and correct copy of the general causation expert

report of Stefan P. Kruszewski, M.D.

       12.    Attached as Exhibit 10 is a true and correct copy of excerpts from the deposition

of Dino Crognale, M.D. (Mar. 25, 2008).

       13.    Attached as Exhibit 11 is a true and correct copy of excerpts from the deposition

of Richard Goldman, M.D. (Apr. 22, 2008).

       14.    Attached as Exhibit 12 is a true and correct copy of excerpts from the deposition

of Lucy Castro (July 10, 2007).




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       15.     Attached as Exhibit 13 is a true and correct copy of the Memorandum re

Neurontin (gabapentin) dated December 7, 2000.

       16.     Attached as Exhibit 14 is a true and correct copy of excerpts from the deposition

of Michele Meager (Mar. 21, 2008).

       17.     Attached as Exhibit 15 are sales calls notes from Michele Meager.

       18.     Attached as Exhibit 16 is a true and correct copy of the expert report of Charles

King III dated October 22, 2007.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on February 23, 2009, in Newburgh, New York



                                                     /s/ Andrew G. Finkelstein
                                                     Andrew G. Finkelstein, Esquire
                                                     Finkelstein & Partners, LLP
                                                     Attorneys for Plaintiff Ronald J. Bulger, Sr.
                                                     1279 Route 300, P.O. Box 1111
                                                     Newburgh, NY 12551


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order No. 3 on February 23, 2009.


                                                     /s/ Andrew G. Finkelstein
                                                     Andrew G. Finkelstein, Esquire




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